           Case 1:19-cr-00719-JHR Document 3 Filed 10/03/19 Page 1 of 1 PageID: 6

                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY
                                   MINUTES OF PROCEEDINGS


OFFICE: CAMDEN                                   DATE OF PROCEEDING 10/03/2019

JUDGE JOSEPH H. RODRIGUEZ

COURT REPORTER: Karen Friedlander

                                                        Docket# CR 19-719 (JHR)
TITLE OF CASE:
UNITED STATES OF AMERICA
           vs.

FRANK GILLIAM
                     DEFENDANT PRESENT

APPEARANCE:
Sean Farrell, AUSA for Govt.
Harry H. Rimm, Esq. for Deft.

NATURE OF PROCEEDINGS: WAIVER OF INDICTMENT & PLEA
Ordered defendant sworn; defendant sworn.
Waiver of indictment filed.
INFORMATION filed.
PLEA: GUilTY TO A ONE COUNT INFORMATION.
Terms of plea agreement read into the record.
Ordered plea agreement approved.
Ordered plea accepted.
Plea Agreement and Rule 11 document to be entered.
Ordered sentencing set for Tuesday, January 7th, 2020 at 11 :00 am.
Ordered bail set $100.000 unsecured with conditions
Hearing on Govt's application to deposit funds into the registry of the court.
Ordered application granted.
Order to be entered

Time commenced: 10:25 AM          Time Adjourned: 11 :05 AM         Total Time: 40 minutes



                                                        s/ David Bruey
                                                        DEPUTY CLERK

cc: Chambers
